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| Appendix N

Fixed Income Committee A Back to top

The Fixed Income Committee is composed of member firm representatives. The committee advises and makes
recommendations to FINRA about regulatory initiatives, rules and policies and public policy issues involving debt
securities, including municipal securities and municipal advisory activity. The committee addresses a broad range
of issues concerning fixed income transactions, fixed income market participants, transaction reporting,
transparency and pricing, suitability, advertising and disclosure, debt mark-ups and commissions, conflicts of
interest, debt research, and training and supervision of persons engaged in debt securities business activities.

Committee Members:

Vivian Altman Merlin Elsner

Janney Montgomery Scott LLC Multi-Bank Securities, Inc.
Jacqueline Beauprez Johanna Frebes

D.A. Davidson Companies Keybanc Capital Markets Inc.
Cathy Bell Gary Hall

Stern Brothers & Co. Siebert Williams Shank & Co., LLC
Mark Borrelli Chris Kendall

Huntington Securities, Inc. Charles Schwab & Co. Inc.
Joanna Brody Robert Lewis Ill

Piper Sandler & Co. PMA Securities, LLC

A. Brad Busscher Marjan Quadir

InspereX LLC Citigroup Capital Markets Inc.
FINRA Staff Liaisons:

Cynthia Friedlander
Adam Kezsbom

Membership effective June 1, 2022
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